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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
YESENIA JAVIER MARIA (A.K.A WANDA), individually
and on behalf of others similarly situated,
                                                             CA NO. 1:20-cv-03707 (JPO)
                              Plaintiffs,

EL MAMBI REST CORP. (D/B/A MAMBI), EL MAMBI                  AFFIDAVIT IN SUPPORT
STAKEHOUSE CORP. (D/B/A MAMBI), RAUL                         OF DEFENDANTS’
ACOSTA, RAUL RYAN ACOSTA A.K.A RAULITO                       MOTION TO DISMISS
ACOSTA, GABRIEL CRUZ-CAPOTE, RAFAELINA                       PLAINTIFF’S AMENDED
(A.K.A NINA) BAUTISTA, and GIOVANNI BAUTISTA                 COMPLAINT
                              Defendants.

STATE OF NEW YORK  )
                   )                  ss.:
COUNTY OF NEW YORK )

       RAUL RYAN ACOSTA, being duly sworn deposes and says the following pursuant to

the penalty of perjury:

       1. I am the owner of El Mambi Steakhouse Corp. (hereinafter “Steakhouse”) and as such

           am fully familiar with all facts stated herein.

       2. El Mambi Rest Corp. (“Rest Corp.”) was formed on June 30, 2006, by Raul Acosta,

           and thereafter began operating the restaurant currently known as Mambi Steakhouse

           Bar and Restaurant (hereinafter the “Restaurant”). See Exhibit A.

       3. Raul Acosta was the sole owner and operator of Rest. Corp.

       4. To my knowledge, during her employment at Rest Corp. Plaintiff punched a clock

           and was paid in accordance with the labor laws.

       5. To my knowledge, during her employment at Rest Corp. Plaintiff was provided wage

           statements and notices. See e.g. Exhibit B.
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6. My business partner Gabriel and I incorporated Steakhouse on September 12, 2017,

   for the purpose of purchasing the Restaurant from my father, Raul Acosta. See

   Exhibit C.

7. On October 19, 2017, Steakhouse purchased the Restaurant from Rest Corp. Exhibit

   D.

8. Gabriel and I are the only managers of Steakhouse.

9. Plaintiff was a waitress at the Restaurant.

10. On or about the last week of January 2020, Plaintiff was caught on camera

   misappropriating tips that should have gone into the tip pool.

11. Thereafter, she was confronted and terminated from employment at the Restaurant.

12. During her employment for Steakhouse Plaintiff punched a clock and was paid in

   accordance with the labor laws.

13. During her employment for Steakhouse Plaintiff took all her lunch breaks in

   accordance with the labor laws.

14. During her employment for Steakhouse Plaintiff’s schedule was five days a week

   from 3:00pm until 11:00pm, with a lunch break, for a total of 7.5 hours per day and at

   most 37.5 hours of work per week.

15. It is my understanding that Plaintiff worked a similar scheduled when employed by

   Rest Corp.
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